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 7   Attorneys for Plaintiff Luminence, LLC,
 8

 9                          UNITED STATES DISTRICT COURT
10
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11

12
     LUMINENCE, LLC,
13
                                                   CASE NUMBER: 3:17-cv-01110-WQH-
14                        Plaintiff,               BLM
15
            vs.                                    REQUEST FOR COURT TO CONSIDER
16                                                 ADDITIONAL EVIDENCE FOR
17   TOP LIGHTING CORPORATION,                     ATTORNEYS FEES AND COSTS
     JULIUS, INC.,                                 AFTER DEFAULT JUDGMENT
18

19                        Defendants.
20

21                    REQUEST FOR ATTORNEYS FEES AND COSTS
22
           Plaintiff, by and through counsel, hereby files his Request for Attorneys Fees and
23
     Costs, subsequent to default judgment in Plaintiff's favor. Plaintiff requests an award of
24
     $4,667.04 for attorneys fees and costs. Attorneys fees in the amount of $4,200 and costs
25
     in the amount of $467.04 represent amounts incurred through January 3, 2018. Plaintiff
26
     reserves the right to submit a supplemental motion for any later fees or costs.
27
           If a plaintiff registers his/her copyright with the Copyright Office before the
28
     defendant infringes the copyright, and if the plaintiff wins the copyright infringement


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                                 REQUEST FOR ATTORNEYS FEES AND COSTS
     Case 3:17-cv-01110-WQH-BLM Document 9 Filed 01/03/18 PageID.44 Page 2 of 2



 1
     litigation, then courts may order the defendant to reimburse plaintiff's attorneys fees,
 2
     under 17 U.S.C. §§ 412, 505.
 3
           In this case attorneys fees are warranted. Defendant continuously sold products
 4
     utilizing the copyright protected images of Plaintiff, even after receiving notice to cease
 5
     and desist. Furthermore Defendant did not even appear in this case after being properly
 6
     served.
 7
           Plaintiff respectfully requests an award for fees and costs in the amount of
 8
     $4,667.04 to be added to the judgment amount in this case.
 9

10   Dated: January 3, 2018                        Respectfully submitted,
                                                   CAPRON LAW OFFICES
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12                                                 By: s/Matthew Capron
13
                                                   MATTHEW CAPRON

14                                                 Attorneys for Luminence, LLC
15                                                 email: mattcapron@yahoo.com
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                                 REQUEST FOR ATTORNEYS FEES AND COSTS
